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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION

 UNITED STATES OF AMERICA                )
                                         )
             vs.                         )          No. 3:08-CR-129(5)
                                         )
 RYAN P. MROZINSKI                       )


                                     ORDER

       No objections have been filed to the magistrate judge’s findings and

 recommendation upon a plea of guilty issued on January 8, 2009 [Doc. No. 61].

 Accordingly, the court now ADOPTS those findings and recommendation,

 ACCEPTS defendant Ryan Mrozinski’s plea of guilty, and FINDS the defendant

 guilty of Count 12 of the Indictment, in violation of 18 U.S.C. §§ 2 and 659.

       SO ORDERED.

       ENTERED:      January 30, 2009




                                         /s/ Robert L. Miller, Jr.
                                      Chief Judge, United States District Court
                                      Northern District of Indiana
